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                        No. 10-15387
             N.D. Cal. No. 3:09-CV-01967-VRW

           IN THE UNITED STATES COURT OF
           APPEALS FOR THE NINTH CIRCUIT
      __________________________________________

                SAMUEL MICHAEL KELLER,

                     Plaintiff and Appellee,

                                v.

                  ELECTRONIC ARTS, INC.,

                 Defendant and Appellant
      __________________________________________

   NOTICE OF WITHDRAWAL OF COUNSEL AND
  REQUEST TO BE REMOVED FROM SERVICE LIST


                      AMY E. MARGOLIN (No. 168192)
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                      Attorneys for Amici Curiae the National
                      Football League Players Association, the
                      Major League Baseball Players
                      Association, the National Hockey League
                      Players’ Association, the National
                      Basketball Players Association and the
                      Major League Soccer Players Union
        Case: 09-56675, 05/15/2012, ID: 8179510, DktEntry: 92, Page 2 of 3




    TO THE COURT AND ALL PARTIES AND THEIR COUNSEL:
    Notice is hereby given that the undersigned counsel, Amy E. Margolin of
the firm Bien & Summers, hereby withdraws as counsel for Amici curiae the
National Football League Players Association, the Major League Baseball
Players Association, the National Hockey League Players’ Association, the
National Basketball Players Association and the Major League Soccer Players
Union, who are collectively referred to here as the “Professional Players
Associations.” The Players Associations consent to this withdrawal and will
remain represented by other counsel, who filed their appearances on May 14,
2012.
    The undersigned respectfully asks that the Court remove her name and that
of her law firm from the electronic service list for these two consolidated
appeals, and that the Court and all parties in these two consolidated appeals
continue to serve Michael Rubin of the Altshuler Berzon firm with all relevant
notices, papers and pleadings.


DATED: May 15, 2012
                        Respectfully,
                        BIEN & SUMMERS


                        By:    /s/ Amy E. Margolin
                              Amy E. Margolin
        Case: 09-56675, 05/15/2012, ID: 8179510, DktEntry: 92, Page 3 of 3




                          CERTIFICATE OF SERVICE
    I hereby certify that I electronically filed the foregoing with the Clerk of
the Court for the United States Court of Appeals for the Ninth Circuit by using
the appellate CM/ECF system on May 15, 2012.
    Participants in the case who are registered CM/ECF users will be served by
the appellate CM/ECF system.
    I further certify that some of the participants in the case are not registered
CM/ECF users. I have mailed the foregoing document by First-Class Mail,
postage prepaid, to the following non-CM/ECF participants:


Joe Sibley
CAMARA & SIBLEY LLP
2800 Post Oak Boulevard
Houston, TX 77056


                             /s/ Amy E. Margolin
                             AMY E. MARGOLIN




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